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                        EXHIBIT A
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Christina Henry

From:                       Petersen, Chelsea D. (Perkins Coie) <CDPetersen@perkinscoie.com>
Sent:                       Wednesday, March 31, 2021 6:15 PM
To:                         Christina Henry; Scott Borison; J. Craig Jones; Craig Hill
Cc:                         Shook, Heather (Perkins Coie); Jasukaitis, Margo (Perkins Coie)
Subject:                    Hesketh - 30(b)(6) and defendant class




Counsel,

You previously inquired as to whether as counsel for TRC we can accept service of plaintiff’s Notice of Deposition
directed at DaVita, Inc. I am writing to confirm that we are authorized to accept service of a subpoena (not a notice) of
non‐party records and testimony. In doing so, DaVita reserves all rights to object to some or all of the matters of
examination or requests for production of documents as contemplated by Federal Rule 45.

In anticipation of the forthcoming subpoena, we plan to provide a letter attempting to clarify and focus the matters for
examination and the documents requested so that DaVita can designate and prepare an appropriate witness or
witnesses. As it stands right now, there are over 26 topics listed and some, as currently drafted, are virtually impossible
to properly prepare a witness to cover.

Potentially most important, the listed 30(b)(6) topics (as well as other discovery) reveal that plaintiff is focused on
piecing together bits and pieces of information to establish the relationship between TRC and DaVita for purposes of
establishing the defendant class. It would be helpful for us to understand why plaintiff has structured this case as a
putative defendant class of DaVita subsidiaries as opposed to naming DaVita as a defendant. It may be possible for us to
cut through this seemingly inefficient process by reaching an agreement as to the defendant class definition or
otherwise stipulating to the structure. I invite your response and/or any suggestions as to how to proceed.

Chelsea

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immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




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